     Case: 1:24-cv-02406 Document #: 16 Filed: 03/28/24 Page 1 of 2 PageID #:103

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Delta Technology Development LLC
                                                              Plaintiff,
v.                                                                          Case No.:
                                                                            1:24−cv−02406
                                                                            Honorable Sara
                                                                            L. Ellis
The Individuals, Corporations, Limited Liability
Companies, Partnerships, And Unincorporated
Associations Identified On Schedule A To The Complaint
                                                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 28, 2024:


         MINUTE entry before the Honorable Sara L. Ellis: The Court grants Plaintiff's
motions for leave to file under seal [5], for service by publication [9], and for entry of a
temporary restraining order [11]. The Court sets a status date for 4/11/2024 at 1:45 PM.
Plaintiff should file any motion for entry of a preliminary injunction and notice it for
presentment at the next status date. Attorneys/Parties should appear for the hearing by
calling the Toll−Free Number: (866) 434−5269, Access Code: 8087837. Throughout the
telephonic hearing, each speaker will be expected to identify themselves for the record
before speaking. Please note that the conference call−in will be used by all cases that are
on the court's calendar for the said date, therefore counsel must be in a quiet area while on
the line and must have the telephone muted until your case is called. Members of the
public and media will be able to call in to listen to this hearing (use toll−free number).
Please be sure to keep your phone on mute when you are not speaking. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court−issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
  Case: 1:24-cv-02406 Document #: 16 Filed: 03/28/24 Page 2 of 2 PageID #:104

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
